Case 3:07-cv-05944-JST Document 938 Filed 05/26/11 Page 1 of 8
Case 3:07-cv-05944-JST Document 938 Filed 05/26/11 Page 2 of 8
Case 3:07-cv-05944-JST Document 938 Filed 05/26/11 Page 3 of 8
Case 3:07-cv-05944-JST Document 938 Filed 05/26/11 Page 4 of 8
Case 3:07-cv-05944-JST Document 938 Filed 05/26/11 Page 5 of 8
Case 3:07-cv-05944-JST Document 938 Filed 05/26/11 Page 6 of 8
Case 3:07-cv-05944-JST Document 938 Filed 05/26/11 Page 7 of 8
Case 3:07-cv-05944-JST Document 938 Filed 05/26/11 Page 8 of 8




                                                          S DISTRICT
                                                       ATE           C
        5/26/11                                       T




                                                                                   O
                                                 S




                                                                                    U
                                                ED




                                                                                     RT
                                                                         ERED




                                            UNIT
                                                                 O ORD
                                                     IT IS S




                                                                                        R NIA
                                                                            onti
                                                                     amuel C




                                            NO
                                                              Judge S




                                                                                       FO
                                             RT




                                                                                    LI
                                                     ER




                                                 H




                                                                                   A
                                                          N                        C
                                                                            F
                                                              D IS T IC T O
                                                                    R
